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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA

                                 Richmond Division

                                           :
DARLENE GIBBS, STEPHANIE EDWARDS,          :
LULA WILLIAMS, PATRICK INSCHO, and         :
LAWRENCE MWETHUKU, on behalf of            :
themselves and all individuals similarly   :
situated,                                  :
                                           :   Civil Action No. 3:17-cv-495-MHL
                        Plaintiffs,        :
                                           :
                  v.                       :
                                           :
PLAIN GREEN, LLC, and GREAT PLAINS         :
LENDING, LLC,                              :
                                           :
                        Defendants.        :
                                           :

  MEMORANDUM OF LAW IN SUPPORT OF PLAIN GREEN, LLC’S MOTION TO
    DISMISS THE COMPLAINT WITHOUT LEAVE TO AMEND OR, IN THE
              ALTERNATIVE, TO COMPEL ARBITRATION
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               Defendant Plain Green, LLC (“Plain Green”), by its undersigned attorneys,

respectfully submit this Memorandum of Law in support of its Motion to Dismiss without Leave

to Amend, or, in the alternative, to Compel Arbitration of the Class Action Complaint

(“Complaint”) brought by named Plaintiffs Darlene Gibbs, Stephanie Edwards, Lula Williams,

Patrick Inscho, and Lawrence Mwethuku (“Plaintiffs”).

I.     Introduction

               Two of the five named Plaintiffs entered into loan agreements with Plain Green, a

lending entity entirely owned and operated by the Chippewa Cree Tribe of the Rocky Boy’s

Reservation, Montana (“Tribe”). As disclosed in all capital letters on the first page of their loan

agreements, and as Chief Judge Smith and Judge Miller recently ruled, this means “both the

Tribe and Plain Green are immune from suit in any Court unless the Tribe . . . expressly waives

that immunity.” (Gibbs Agreement at 1 1); Howard v. Plain Green LLC, No. 17-302, 2017 U.S.

Dist. LEXIS 136275 (E.D. Va. Aug. 24, 2017) (order approving Judge Miller’s Report &

Recommendation dismissing case against Plain Green on immunity grounds). The Tribe has not

waived its immunity, nor has Congress abrogated it. Therefore, all Plaintiffs’ claims, which

generally allege that the loans’ interest rates violate state and federal law, must be dismissed for

lack of subject matter jurisdiction.

               In an attempt to extinguish Plain Green’s sovereign immunity, Plaintiffs attempt

to paint Plain Green as a “criminal enterprise” that partnered with its former third-party service


       1
          Over the past several years, named Plaintiffs Gibbs and Mwethuku entered into
substantially similar loan agreements with Plain Green. (See Exhibit 2, Declaration of Plain
Green COO Ian Stamper Windyboy ¶ 7 (hereinafter, “Windyboy Decl.”) & Exhibits H through
M (attached to the Windyboy Declaration).) Plaintiffs have not alleged that the agreements
differ in any significant way. Accordingly, for ease of reference, when discussing Plaintiffs’
loan agreements, Plain Green will refer only to the Gibbs loan agreement (“Gibbs Agreement”),
which is attached to the Complaint as Exhibit 2 and to the Windyboy Declaration as Exhibit H.
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provider, Think Finance, for the purpose of evading usury laws. These allegations are false but

also irrelevant. In conducting its immunity analysis, the Court must consider Plain Green’s

operation and structure at the time the case was filed on July 11, 2017. Plain Green no longer

has a relationship with Think Finance or any other service provider and has a wholly different

business structure as a manager-managed LLC (whose only member is the Tribe). These facts—

which are notably absent from the Complaint—plainly demonstrate that the Tribe’s immunity

from suit extends to Plain Green and bars this lawsuit.

               Although Plaintiffs cannot proceed in this Court due to Plain Green’s immunity,

Plaintiffs are not without a remedy against Plain Green. Their loan agreements—again in clear,

comprehensive, and easy to understand language—spell out the process for resolving any

disputes relating to the loans. Specifically, each agreement contains a mandatory arbitration

clause that requires Plaintiffs’ federal and state law claims to be litigated before a neutral

arbitrator of Plaintiffs’ choosing—not in this Court. (Gibbs Agreement at 6–8.) This mandatory

arbitration clause applies not only to Plaintiffs’ claims concerning the interest rates that applied

to their loans, but also their allegations that the loan agreements’ arbitration and tribal choice of

law provisions are unenforceable.       (Id.)   In sum, the arbitration agreement demands that

everything at issue in the Complaint be submitted to arbitration.

               If this case is not dismissed on immunity grounds or sent to arbitration, the loan

agreements provide yet another reason why Plaintiffs cannot prevail as a matter of law. The first

page of each agreement contains a choice of law clause calling for the application of tribal law.

(Gibbs Agreement at 1–2.) Virginia courts routinely permit parties to select which law they want

to govern, including on matters such as which state’s interest rate laws apply to a loan. See, e.g.,

Settlement Funding, LLC v. Neumann-Lillie, 645 S.E.2d 436, 438–39 (Va. 2007) (upholding loan




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that exceeded Virginia’s 12 percent interest rate cap because the parties’ contract called for the

application of Utah law, which did not have a cap). Chippewa Cree law does not have an interest

rate cap. Because the loans’ interest rates were consistent with tribal law, Plaintiffs have not

plausibly alleged that the loans violated Virginia law or constituted an “unlawful debt” under the

federal Racketeer Influenced and Corrupt Organizations Act (“RICO”). Plaintiffs cannot plead

around this critical defect. As a result, the case must be dismissed with prejudice on this ground.

               For these reasons, and on the basis of the additional grounds provided below, the

Court must dismiss the action against Plain Green with prejudice or compel Plaintiffs to comply

with the mandatory arbitration agreements that they have flouted by bringing this case.

II.    Background

               This case concerns installment loans extended to five Virginia residents by Plain

Green and the other defendant in this case, Great Plains Lending, LLC. Plain Green is a lending

entity owned and operated by the Chippewa Cree Tribe, a federally-recognized Native American

tribe in north-central Montana. The Tribe is an independent sovereign nation that provides

governmental and social services, jobs, education, nutritional, health and infrastructure, among

other services, to its approximately 7,000 members, 3,500 of whom live on the Reservation. 2

The Tribe’s inherent sovereignty long predates the organization of the United States, and it has

engaged in a government-to-government relationship with the United States for over 150 years.

In 1934, the Tribe organized under a Constitution and Bylaws adopted under the provisions of

the Indian Reorganization Act of 1934, ch. 576, 48 Stat. 984 (25 U.S.C. § 461 et seq.), and has


       2
            “Chippewa Cree Tribe,” Montana Governor’s Office of Indian Affairs,
https://tribalnations.mt.gov/chippewacree (last visited September 19, 2017); see also Ex. 1,
Declaration of Tribe’s Vice-Chairman Theodore Whitford ¶ 3 (hereinafter “Whitford Decl.”).
The exhibits referenced in the Vice-Chairman’s declaration are attached thereto as Exhibits A
through G.


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since that time maintained a continuous government-to-government relationship with United

States. See 81 Fed. Reg. 26826, 26827 (May 4, 2016) (including the Tribe on the list of “Indian

Entities Recognized and Eligible to Receive Services from the United States Bureau of Indian

Affairs”).

               In 2010, the Tribe’s governing body, the Business Committee, chartered Plain

Green as an online lending entity pursuant to the Committee’s authority to promote the general

welfare of the Tribe. (Whitford Decl. ¶ 7; Ex. D at 1.) Plain Green operates as an economic arm

of the Tribe pursuant to the laws of the Tribe and is specifically designed to increase tribal

revenues, to serve the social, economic, educational, and health needs of the Tribe, and to

“enhance the Tribe’s economic self-sufficiency and self-determination.” (Whitford Decl. ¶ 11;

Ex. D at 1; Ex. E at 19.) Plain Green fulfills this responsibility: the Tribe utilizes revenues from

Plain Green to deliver direct-services—including healthcare, education, and subsistence

distributions, among a variety of other programs and initiatives—to its Tribal members.

(Whitford Decl. ¶ 14.)

               The Business Committee exercises significant and active operational control over

Plain Green.    The Committee has authorized amendments to the Plain Green Articles of

Organization three times since Plain Green’s establishment in 2010. (Id. ¶ 8; see Ex. E.) Plain

Green’s profits inure to the benefit of the Tribe and Plain Green operates all facets of its business

internally. (Whitford Decl. ¶¶ 10, 13.)

               Plain Green is also subject to regulation by the Tribe under the Chippewa Cree

Tribal Lending and Regulatory Code, a true and correct copy of which is attached as Exhibit F to

Vice Chairman Whitford’s declaration and accessible on Plain Green’s website at

https://www.plaingreenloans.com/css/title10.pdf. (Id. ¶ 15; Ex. F.) The Code regulates a variety




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of Plain Green’s activities, including the extension of credit, application of usury and interest

rates, and required loan agreement disclosures. (See Whitford Decl., Ex. F at Chapter 3.) It also

requires Plain Green be subject to the oversight of the Tribal Consumer Protection Bureau

(“TCPB”), an independent governmental regulatory subdivision of the Tribe. (See id. at Chapter

4.) This oversight includes quarterly compliance audits and an annual on-site review. (See id. at

§§ 10-4-108, 10-4-111.)

               In light of Plain Green’s status as an arm of the Tribe, the Tribe has affirmed that

it and its officers share all of the “rights, privileges and federal immunities of the Tribe,”

including sovereign immunity from suit. (Whitford Decl. ¶ 12; Ex. E at 5; see also Ex. D at 3.)

               Notwithstanding Plain Green’s sovereign immunity, Plaintiffs filed in this Court

the instant putative class action Complaint, alleging principally that the interest rates applied on

their loans violate Virginia lending laws, which impose a maximum interest rate of 12 percent,

and RICO, which bars the collection of “unlawful debt”—i.e., money lent at twice the applicable

enforcement rate. 18 U.S.C. § 1961(6). This is an unprecedented maneuver. In similar cases,

including the Fourth Circuit cases that Plaintiffs rely on in their Complaint, plaintiffs seem to

acknowledge that suing the tribes and their economic arms is a non-starter because of the

immunities enjoyed by these entities. See, e.g., Gingras v. Rosette, No. 15-101, 2016 U.S. Dist.

LEXIS 66833, at *1 (D. Vt. May 18, 2016) (substantially similar RICO case brought against the

officers of Plain Green under Ex Parte Young because the “Tribe and Plain Green . . . are

‘subject to sovereign immunity’”); Dillon v. BMO Harris Bank, N.A., 856 F.3d 330, 332 (4th Cir.

2017) (substantially similar RICO case brought against a non-tribal service provider of a loan

issued by a tribal lender); Hayes v. Delbert Servs. Corp., 811 F.3d 666, 669 (4th Cir. 2016)




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(private litigation relating to a loan issued by a tribal lender against only the servicing agent,

which “claimed no tribal ownership or affiliation”).

               In an effort to avoid the straightforward application of tribal immunity principles,

Plaintiffs alleged that Plain Green entered into a “rent-a-tribe” agreement with Think Finance.

(Compl. ¶ 3.) Plaintiffs’ allegations are not only false but also irrelevant. Rather than presenting

this Court with jurisdictional facts that are contemporaneous with the filing, Plaintiffs present

outdated facts that they believe will help them avoid the Plain Green’s sovereign immunity. But

Plaintiffs’ outdated alleged facts are irrelevant to an assessment of Plain Green’s sovereign

immunity at the time the case was filed on July 11, 2017.

               While Plain Green’s sovereign immunity from suit bars the Court’s subject matter

jurisdiction and precludes further inquiry into the matter, other significant threshold barriers exist

that the Plaintiffs must, and cannot, overcome. Plaintiffs Gibbs and Mwethuku entered into loan

agreements with Plain Green that require all disputes between the parties to be resolved by

arbitration—not by a lawsuit brought in federal district court—and mandate the application of

tribal law to disputes brought in such proceedings. (Compl. ¶¶ 7, 76–85; Gibbs Agreement at 1–

2, 6–8.) Much like needing to prove that Plain Green waived its tribal sovereign immunity,

Plaintiffs must find a way to avoid these contractual obligations. Here, Plaintiffs allege that the

choice of law and arbitration clauses are “unconscionable and unenforceable” because, when

read together, they purportedly “disclaim all federal and state law in favor of ‘tribal law.’”

(Compl. ¶¶ 7, 77–85.) Simply put, Plaintiffs’ bare allegations do not change the plain nature of

their contractual undertaking any more than they can avoid Plain Green’s sovereign immunity

through stale facts.




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III.   Argument

       A.      Plain Green is Immune from Suit in this Court

               Tribal sovereign immunity is a threshold jurisdictional question that must be

addressed before the merits. Howard v. Plain Green, LLC, No. 17-302, 2017 U.S. Dist. LEXIS

137229, at *5 (E.D. Va. Aug. 7, 2017) (explaining that “[w]hen an entity enjoys immunity from

suit, the court lacks subject matter jurisdiction”); see Puyallup Tribe v. Dept. of Game of State of

Wash., 433 U.S. 165, 172 (1977) (stating that “[a]bsent an effective waiver or consent,” a court

“may not exercise jurisdiction over a recognized Indian tribe” (emphasis added)); Pan Am. Co. v.

Sycuan Band of Mission Indians, 884 F.2d 416, 418 (9th Cir. 1989) (explaining that “the issue of

tribal sovereign immunity is jurisdictional in nature”); see also Amerind Risk Mgmt. Corp. v.

Malaterre, 633 F.3d 680, 684-85 (8th Cir. 2011) (“We have held that tribal sovereign immunity

is a threshold jurisdictional question.”). Here, Plain Green has presented indisputable factual

evidence demonstrating that the Court lacks subject matter jurisdiction over Plaintiff’s claims

because Plain Green is immune from suit in this Court. 3 Accordingly, the Court should dismiss

Plaintiffs’ Complaint without ordering jurisdictional discovery.

               1.      The Chippewa Cree Tribe Maintains Sovereign Immunity from Suit as a
                       Federally Recognized Indian Tribe.

               The Chippewa Cree Tribe is a sovereign body politic with reserved, inherent

authority that predates the United States Constitution. Worcester v. Georgia, 31 U.S. 515, 559

       3
          It is Plaintiffs’ burden to establish that subject matter jurisdiction exists under Federal
Rule of Civil Procedure 12(b)(1). SunTrust Bank v. Vill. at Fair Oaks Owner, LLC, 766 F. Supp.
2d 686, 688 (E.D. Va. 2011) (citing Pinkley, Inc. v. City of Frederick, Md., 191 F.3d 394, 399
(4th Cir. 1999)). In conducting this analysis, the Court “is to regard the pleadings’ allegations as
mere evidence on the issue, and may consider evidence outside the pleadings without converting
the proceeding to one for summary judgment.” Richmond, Fredericksburg & Potomac R. Co. v.
United States, 945 F.2d 765, 768 (4th Cir. 1991). The Court must grant Plain Green’s Motion “if
the material jurisdictional facts are not in dispute and the moving party is entitled to prevail as a
matter of law.” Id.


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(1832); see also Santa Clara Pueblo v. Martinez, 436 U.S. 49, 55–59 (1978); United States v.

Wheeler, 435 U.S. 313, 322-23 (1978); Okla. Tax Comm’n v. Citizen Band Potawatomi Tribe of

Okla., 498 U.S. 505, 509 (1991) (citing Cherokee Nation v. Georgia, 30 U.S. 1, 17 (1831)).

               A core aspect of the Tribe’s inherent sovereignty is sovereign immunity from

unconsented suit. See Michigan v. Bay Mills Indian Cmty., 134 S. Ct. 2024, 2030 (2014)

(reaffirming that “[a]mong the core aspects of sovereignty that tribes possess—subject [only] to

congressional action—is the ‘common-law immunity from suit traditionally enjoyed by

sovereign powers’” (quoting Martinez, 436 U.S. at 58)); Demontiney v. U.S. ex rel. Dept. of

Interior, Bureau of Indian Affairs, 255 F.3d 801, 813 (9th Cir. 2001) (dismissing plaintiff’s claim

based on the Chippewa Cree Tribe’s sovereign immunity from suit). Indeed, “[t]he rule that a

[federally-recognized] tribe of Indians . . . is not subject to suit without the consent of Congress

is too well settled to admit of argument.” Haile v. Saunooke, 246 F.2d 293, 297 (4th Cir. 1957).

               Further, tribal sovereign immunity is not geographically limited.         The Tribe

retains its immunity even when it acts in a commercial capacity outside the boundaries of its

territory. See Bay Mills, 134 S. Ct. at 2036 (stating that the “doctrine of tribal immunity—

without any exceptions for commercial or off-reservation conduct—is settled law and controls”);

Kiowa Tribe of Okla. v. Mfg. Techs., Inc., 523 U.S. 751, 760 (1998) (holding that tribal sovereign

immunity extends to a tribe’s “governmental or commercial activities” regardless of “whether

they were made on or off a reservation”).

               2.      Plain Green is Immune from Suit as an Economic Arm of the Tribe

               Tribal sovereign immunity extends to businesses that operate as economic arms of

the Tribe. See Thomas v. Dugan, No. 97-2717, 1998 U.S. App. LEXIS 32675, at *2–3 (4th Cir.

1998) (“Tribal entities and officers . . . are also shielded by sovereign immunity.”); Howard,

2017 U.S. Dist. LEXIS 137229 at *7; see also Okla. Tax Comm’n, 498 U.S. at 510 (holding that


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tribal sovereign immunity extends to “tribal business ventures”); Pettus v. Servicing Co., LLC,

No. 15-479, 2016 WL 7234106, at *2 (E.D. Va. Feb. 9, 2016) (“Tribal sovereign immunity

extends to an ‘arm of the tribe’ that engages in economic activities . . . .”); Kiowa, 523 U.S. at

757 (explaining that tribal sovereign immunity is retained even for those tribal businesses that

had arguably “become far removed from tribal self-governance and internal affairs”); see Cook v.

AVI Casino Enters., 548 F.3d 718, 725 (9th Cir. 2008) (stating that “tribal corporations acting as

an arm of the tribe enjoy the same sovereign immunity granted to a tribe itself”). Indeed,

upholding tribal sovereign immunity for tribal commercial entities is consistent with a central

purpose underlying immunity: “to promote economic development and tribal self-sufficiency.”

Kiowa, 523 U.S. at 757; see also Am. Indian Agr. Credit Consortium, Inc. v. Standing Rock

Sioux Tribe, 780 F.2d 1374, 1378 (8th Cir. 1985) (emphasizing that immunity is “necessary to

promote the federal policies of tribal self-determination, economic development, and cultural

autonomy”).

               Courts typically apply a multi-factor balancing test to analyze whether an entity is

an arm of the Tribe entitled to the Tribe’s sovereign immunity. The test articulated by the Tenth

Circuit in Breakthrough Mgmt Grp., Inc. v. Chukchansi Gold Casino & Resort has become the

leading test because it utilizes central factors relied on by “the various tests used by federal

courts, as well as state courts” over time. 629 F.3d 1173, 1187 n.10 (10th Cir. 2010). Judge

Miller recently applied the Breakthrough test to Plain Green and concluded that Plain Green is

entitled to sovereign immunity as an arm of the Tribe. See Howard, 2017 U.S. Dist. LEXIS

137229 at *7–8.

               The Breakthrough test looks to the following factors in determining whether

entities are arms of the tribe: (1) their method of creation; (2) their purpose; (3) their structure,




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ownership, and management, including the amount of control the tribe has over the entities; (4)

whether the tribe intended for the entities to have tribal sovereign immunity; (5) the financial

relationship between the tribe and the entities; and (6) whether the purposes of tribal sovereign

immunity are served by granting immunity to the entities. 629 F.3d at 1181. No single factor is

dispositive, and not all factors need to weigh in favor of immunity for an entity to be an arm of

the Tribe. See id. at 1191–95. Rather, the entity is immune if the weight of the factors weighs in

favor of immunity. Id.

                       a.      In Assessing the Breakthrough Factors, the Court Must Focus on
                               Facts at the Time of Filing, Not at Some Prior Date When the
                               Court Was Not Asked to Exercise its Jurisdiction

                Before addressing the application of the Breakthrough factors, Plain Green must

first address a foundational defect permeating the Complaint. In an effort to circumvent Plain

Green’s sovereign immunity, Plaintiffs advance a series of false factual allegations regarding

Plain Green’s operation and structure in support of their theory that Plain Green is not a true arm

of the Tribe. However, Plaintiffs’ factual allegations are both misinformed and irrelevant under

the Breakthrough test because they all purport to describe Plain Green’s past operations and

structure. Because past facts have no bearing on the Court’s present subject matter jurisdiction

(and therefore, Plain Green’s present immunity), this Court must disregard Plaintiff’s false and

temporally misplaced allegations in assessing whether Plain Green is an arm of the Tribe under

Breakthrough.

                As noted, tribal sovereign immunity is in the nature of subject matter jurisdiction,

Howard, 2017 U.S. Dist. LEXIS 137229, at *5–6, and this Court is under a “continuous

obligation” to ensure that it maintains subject matter jurisdiction over this matter. Stewart v. Lee,

No. 116-213, 2017 U.S. Dist. LEXIS 40012, at *14 n.4 (E.D. Va. Mar. 17, 2017) (citing

Brickwood Contractors, Inc. v. Datanet Eng’g, Inc., 369 F.3d 385, 390 (4th Cir. 2004)). The


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arm of the tribe inquiry, then, is necessarily one in the present, asking whether the court can

currently bind the tribal entity, or some prior iteration thereof, in light of its claimed immunity as

an arm of the Tribe, without regard to whether the entity was entitled to immunity at some point

in the past. Thus, the arm-of-the-tribe inquiry is “trapped in the present” and looks to “the

current state of affairs” without regard to whether the entity was entitled to immunity “at some

earlier time.” State ex rel. Suthers v. Cash Advance, No. 05-143, 2012 WL 3113527 (Denver

Cty. Dist. Ct. Feb. 18, 2012) (concluding that, “as the State conceded at the hearing, the [arm-of-

the-tribe] issue in this particular case is trapped in the present” because “a court must always be

concerned about its subject matter jurisdiction”).      Regardless, Plain Green has always had

sovereign immunity.

               Indeed, the majority of federal circuits to address the issue have adopted the

“time-of-filing” in evaluating tribal sovereign immunity, which provides that the existence of a

defendant’s sovereign immunity is assessed at the time the action is filed. See Iowa Tribe of

Kan. & Neb. v. Salazar, 607 F.3d 1225, 1236 (10th Cir. 2010) (recognizing the Second, Third,

Fifth, and Ninth Circuits as adopting the “time of filing” such that sovereign immunity is

assessed “as of the date the complaint was filed”); see Bank of Hemet v. United States, 643 F.2d

661, 665 (9th Cir. 1981) (holding that sovereign immunity “should be determined as of the date

the complaint was filed”). This rule accords with “the longstanding principle that the jurisdiction

of the Court depends upon the state of things at the time of the action brought.” Keene Corp. v.

United States, 508 U.S. 200, 207 (1993) (internal quotation marks omitted). To the extent

circuits deviate from this rule, they do so by permitting a reassessment of immunity after

litigation has commenced, recognizing that subject matter jurisdiction is an ongoing inquiry. See

Iowa Tribe of Kan. & Neb., 607 F.3d 1225, 1236 (10th Cir. 2010) (concluding that sovereign




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immunity is not “a determination to be made based on the existence of a waiver at the time of

filing,” but “is an ongoing inquiry” that can change after a suit is commenced); Maysonet-Robles

v. Cabrero, 323 F.3d 43 (1st Cir. 2003) (same). The collective rule, then, is that sovereign

immunity is assessed at the earliest when the action commences. And although the “time of

filing” rule has not been explicitly applied in the specific context of tribal sovereign immunity,

“[t]here is no reason to depart from these general rules in the context of tribal sovereign

immunity.” Lewis v. Clarke, 137 S. Ct. 1285, 1291 (2017) (applying “established sovereign

immunity principles” to hold that tribal sovereign immunity is not implicated when a claim is

made against tribal employees in their individual capacities).

               Because the existence of sovereign immunity often involves fact-dependent

inquiries, such as the presence of a waiver, the “time of filing” rule requires courts to assess facts

relevant to immunity in existence at the time the action is filed. See Bank of Hemet, 643 F.2d at

665 (stating that “the presence of a waiver” must be assessed at the time of filing). In the context

of an arm-of-the-tribe inquiry, this means that courts must look to the facts bearing on the

Breakthrough factors as they exist at the time of filing—not when the alleged events giving rise

to the claim occurred. Indeed, consistent with the “time of filing” rule, the arm-of-the-tribe

inquiry is and has always been an assessment of the entity’s current structure and relationship to

the subject tribe.   Cash Advance, 2012 WL 3113527 (explaining that irrelevance of past

immunity is why the “arm-of-the-tribe factors are phrased in the present test”); see also

Breakthrough, 629 F.3d. at 1191–96 (assessing the entity’s present ownership status, structure,

operation, and financial relationship with the tribe); Everette v. Mitchem, 146 F. Supp. 3d 720,

724-25 (D. Md. 2015) (same); Howard, 2017 U.S. Dist. LEXIS 137229 at *7–9 (same).




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               Notably, the Supreme Court specifically rejected the argument that the status of a

defendant’s sovereign immunity should be assessed at the time of the prior events giving rise to

suit. In Dole Food Co. v. Patrickson, 538 U.S. 468 (2003), the petitioners argued that immunity

conferred under the Foreign Sovereign Immunities Act should be administered like “other status-

based immunities, such as the qualified immunity accorded a state actor, that are based on the

status of an officer at the time of the conduct giving rise to the suit.” Id. at 478–79. The Court

rejected petitioners’ argument, reasoning that the justification for conferring immunity to

government officers—to “prevent threat of suit from crippling proper and effective

administration of public affairs”—is different from that underlying immunity to foreign states.

Id. at 479. “Foreign sovereign immunity, by contrast, is not meant to avoid chilling foreign

states or their instrumentalities in the conduct of their business but to give foreign states and their

instrumentalities some protection from the inconvenience of suit as a gesture of comity between

the United States and other sovereigns.” Id. As such, the Court concluded that the existence of

immunity under the Foreign Sovereign Immunities Act is assessed at the time of filing.

               Similarly, the doctrine of tribal sovereign immunity is “a necessary corollary to

Indian sovereignty and self-governance.” Three Affiliated Tribes of Fort Berthold Reservation v.

Wold Engineering, P.C., 476 U.S. 877, 890 (1986). And like the foreign sovereign immunity at

issue in Dole Foods, continued recognition of tribal sovereign immunity is strongly supported by

principles of comity. Bay Mills, 134 S. Ct. at 2041 (Sotomayor, J., concurring) (stating that the

goals of comity “are best served by recognizing sovereign immunity for Indian Tribes, including

immunity for off-reservation conduct, except where Congress has expressly abrogated it”).

Because the rationale for extending immunity to tribes parallels the rationale for extending

immunity to foreign governments, the Court’s conclusion in Dole Foods—that courts cannot




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assess the existence of immunity based on the sovereign’s status at the time of the prior conduct

that gives rise to the suit—should control here.

               Consistent with the “time of filing” rule and the Supreme Court’s decision in Dole

Foods, a determination of whether Plain Green is entitled to tribal sovereign immunity as an arm

of the Tribe under Breakthrough requires an assessment of Plain Green’s current operation and

structure. Plaintiffs’ factual allegations regarding Plain Green’s past operation and structure

must therefore be disregarded as a matter of law.

                       b.     All Six Breakthrough Factors Weigh in Favor of Extending
                              Immunity to Plain Green

               On August 24, 2017, Chief Judge Smith adopted Judge Miller’s ruling that “Plain

Green is an ‘arm of the tribe’ based on the six factors enumerated in the Tenth Circuit’s

[Breakthrough] analysis. As a result, it is immune from suit under existing tribal immunity

precedent.” Howard, 2017 U.S. Dist. LEXIS 137229, at *8, approved and adopted, 2017 U.S.

Dist. LEXIS 136275.

               Nothing has changed since then. Accordingly, each of the following

Breakthrough factors continues to support extension of the Tribe’s immunity to Plain Green.

               Factor 1: Method of Creation. The first factor weighs in favor of immunity

because the Tribe incorporated Plain Green under its laws and Plain Green operates pursuant to

the Tribe’s laws. (Whitford Decl. ¶¶ 7, 9, 15–17; Ex. D at 1; Ex. E at 21; Ex. G); Howard, 2017

U.S. Dist. LEXIS 137229, at *8–9. Additionally, in ratifying and approving Plain Green’s

Articles of Organization, the Tribe “recognize[d] the responsibilities of [Plain Green, LLC], as

an economic arm of the Tribe” to serve the needs of the Tribe and its members. (Ex. E at 19;

Whitford Decl. ¶ 14.) The Tribe has amended Plain Green’s Articles of Organization, most




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recently in 2016, (Whitford Decl. ¶ 8), and the resolutions adopting those amendments expressly

reaffirm Plain Green’s tribal status and its tribal public purpose. (Id.; Ex. E at 1–2, 9, 18–19.)

               Factor 2: Purpose. The second factor weighs in favor of immunity because Plain

Green was “created for the financial benefit of the Tribe and to enable it to engage in various

government functions.” Breakthrough, 629 F.2d at 1192; Howard, 2017 U.S. Dist. LEXIS

137229, at *9–10. The Tribe formed Plain Green for the express purposes of serving the social

economic, educational, and health needs of the Tribe; increasing Tribal revenues; enhancing the

Tribe’s economic self-sufficiency and self-determination; and providing positive, long-term

social environmental and economic benefits to Tribal members by enhancing the Tribe’s

business undertakings and prospects. (Whitford Decl. ¶ 11; Ex. D at 1; Ex. E at 21.) The fact

that Plain Green’s offices are located on the Reservation also evinces that the company’s purpose

is to benefit the Tribe. (Whitford Decl. ¶ 10.) As the Court in Howard found, “it is clear from

the text of Plain Green’s charter that it was created for the Tribe’s financial benefit.” 2017 U.S.

Dist. LEXIS 1372292017, at *9.

               Factor 3: Structure, Ownership, and Management. The third factor weighs in

favor of immunity because “Plain Green is owned by the Tribe.” Id. at *10–11. The Chippewa

Cree Tribe owns and manages Plain Green through a single manager-managed limited liability

company; the company’s sole member is the Tribe, which has the exclusive authority to appoint

and remove the manager. (Whitford Decl. ¶ 9; Ex. E at 11, 15, 18–19.) Moreover, Plain Green

alone runs everything about its business—“cradle to grave.” (Whitford Decl. ¶ 10.) There are

no third parties or outside individuals exercising any ownership or management control over

Plain Green. (Id.) Plain Green does not utilize a third-party service provider. (Id.) It runs its

own platforms and its own loan product. (Id.) It markets, underwrites, funds, and processes its




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loans. It collects all payments from its customers. (Id.) Thus, contrary to the Plaintiffs’ creative

allegations (see, e.g., Compl. ¶ 15) the Tribe controls and is actively involved in the ownership,

management, and all day-to-day operations of Plain Green.

               Further, Plain Green is subject to tribal law. Specifically, it is subject to strict

regulation under the Tribe’s Lending and Regulatory Code, which regulates a variety of Plain

Green’s activities, including the extension of credit, application of usury and interest rates, and

required loan agreement disclosures, among other topics. (See Whitford Decl. ¶¶ 11–12; Ex. F at

Ch. 3, Parts 1, 2, and 5; Ex. G.) In addition, tribal law subjects Plain Green to regulation by the

TCPB, which is an independent governmental regulatory subdivision of the Tribe. (See Ex. F at

Chapter 4.) The TCPB conducts quarterly compliance audits of Plain Green in addition to an

annual on-site review. (See id., § 10-4-108, 10-4-111.)

               The foregoing all demonstrate, as the Howard court concluded, that the “structure,

ownership and management of Plain Green indicates that it functions as an economic arm of the

Tribe, and thus satisfies the third factor of Breakthrough.” 2017 U.S. Dist. LEXIS 137229, at

*11.

               Factor 4: Tribal Intent that Entity is Vested with Immunity.            This factor

“unequivocally” weighs in favor of immunity because the Tribe clearly intended for Plain Green

to share in its immunity as an arm of the Tribe. Howard, 2017 U.S. Dist. LEXIS 137229, at *11.

Plain Green’s Articles of Organization state: “[t]he Tribe hereby confers on [Plain Green]

sovereign immunity from suit to the same extent that the Tribe would have such sovereign

immunity if it engaged in the activities undertaken by [Plain Green].” (Ex. E at 22.) The

Articles further state: “The [Tribe] hereby confers on the Company all of the Tribe’s right,

privileges and federal immunities concerning federal, state, and local taxes, regulation, and




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jurisdiction, to the same extent that the Tribe would have such rights, privileges, and immunities,

it if engaged in the activities undertaken by [Plain Green].” (Id. at 5.) In short, the fourth factor

is satisfied “by the Tribe’s express intent to confer its tribal immunity onto Plain Green.”

Howard, 2017 U.S. Dist. LEXIS 137229, at *11.

               Factor 5: Financial Relationship. On this factor, Plaintiffs’ factual assertions are

simply wrong. (See Compl. ¶¶ 4, 46.) Since its inception and until this day, the Tribe has been

the sole owner of Plain Green, (Whitford Decl, ¶¶ 7, 9; Ex. E at 21), and, as a result, “all of

[Plain Green’s] profits inure to the benefit of the Tribe.” Howard, 2017 U.S. Dist. LEXIS

137229, at *11 (emphasis added). Moreover, as noted, Plain Green operates all facets of its

business internally, including funding its loans and collecting all payments on its loans.

(Whitford Decl. ¶ 10.) Thus, the fifth factor is satisfied.

               Factor 6: Serving the Purposes of Sovereign Immunity. Plain Green’s immunity

would further federal policies intended to promote Indian tribal autonomy because Plain Green

serves a critical role in the Tribe’s efforts to generate revenues as a means of promoting

increased economic independence and self-determination. (Id. ¶ 11; Ex. D at 1; Ex. E at 21.) As

noted, revenues from Plain Green are currently funding the development of a health clinic for the

Tribe. (Whitford Decl. ¶ 14.) Revenues are also used by the Tribe to fund Tribal community

events, such as ceremonies and pow-wows, school supplies, medical equipment, and subsistence

distributions to Tribal members, among other Tribal initiatives. (Id.) Indeed, Plain Green

“plainly promote[s] and fund[s] the Tribe’s self-determination through revenue generation and

the funding of diversified economic development.” Breakthrough, 629 F.3d at 1195. Without

revenues from Plain Green, it would be much more difficult for the Tribe to meet the needs of its

members and provide them with necessary governmental services, including law enforcement,




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fire, public utility, housing, and other fundamental welfare services. (Whitford Decl. ¶ 14.)

Indeed, “the sixth factor of Breakthrough is satisfied because Plain Green promotes economic

development and self-sufficiency, which is a central purpose of tribal immunity.” Howard,

2017 U.S. Dist. LEXIS 137229, at *13 (citing Kiowa, 523 U.S. at 757).

               Plaintiffs cannot refute what the court held in Howard: all six Breakthrough

factors support extension of the Tribe’s immunity to Plain Green. 2017 U.S. Dist. LEXIS

137229, at *13. Because Plain Green is an economic arm of the Tribe that is entitled to

sovereign immunity from suit, this Court has jurisdiction over Plaintiffs’ claims only if Plaintiffs

can prove that Plain Green’s immunity was either waived or abrogated by Congress.

                       c.      Plain Green’s Sovereign Immunity Was Not Waived or Abrogated
                               by Congress

               As a matter of federal law, an Indian tribe or its economic arms are subject to suit

“only where Congress has authorized the suit or the tribe has waived its immunity.” Kiowa, 523

U.S. at 754.    A tribe’s “waiver of sovereign immunity ‘cannot be implied but must be

unequivocally expressed.’” Santa Clara Pueblo, 436 U.S. at 59. As part of their burden to prove

subject matter jurisdiction, SunTrust Bank, 766 F. Supp. 2d at 688, Plaintiffs must show that the

Tribe’s sovereign immunity has been abrogated or waived. See also Amerind, 633 F.3d at 685–

86 (stating that the plaintiff “bear[s] the burden of proving that either Congress or [the Tribe] has

expressly and unequivocally waived tribal sovereign immunity”).

               Plaintiffs present no evidence that any entity with the authority to waive Plain

Green’s immunity has done so with respect to Plaintiffs’ claims, and that is because such

evidence does not exist. As discussed infra in Section III.B, Plaintiffs have a remedy against

Plain Green: arbitration before a neutral arbitrator in a location of Plaintiffs’ choosing. However,

Plaintiffs have chosen to file this barred suit instead of pursuing the legitimate remedies they



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maintain. Neither the Tribe nor Plain Green has executed any instrument or taken any action that

could be construed as a waiver of Plain Green’s immunity with respect to Plaintiffs’ claims.

(Windyboy Decl. ¶¶ 10–11.)

                Because Plain Green has not waived its immunity, Plaintiffs must show that

Congress expressly abrogated Plain Green’s immunity from suit under the RICO statute. As an

initial matter, it is critical to understand that the applicability of a statute to a tribe has no bearing

on whether Congress intended to abrogate tribal sovereign immunity in that same statute. That is

because “whether an Indian tribe is subject to a statute and whether the tribe may be sued for

violating the statute are two entirely different questions.” Fla. Paraplegic, Ass’n, Inc. v.

Miccosukee Tribe of Indians of Fla., 166 F.3d 1126, 1130 (11th Cir. 1999); Bassett v.

Mashantucket Pequot Tribe, 204 F.3d 343, 357 (2d Cir. 2000); see Kiowa, 523 U.S. at 755

(“There is a difference between the right to demand compliance with state laws and the means

available to enforce them.”). Therefore, for the purposes of Plain Green’s motion to dismiss for

lack of subject matter jurisdiction, it is irrelevant whether RICO applies to Plain Green—which it

does not, see infra Section III.C.2. For present purposes, this Court need only decide whether

RICO abrogates tribes’ immunity through unequivocal and express language by Congress.

                The answer to that question is decidedly “no.” All courts that have considered

whether Congress intended to abrogate tribal sovereign immunity in RICO have answered in the

negative. See Smith v. Babbitt, 875 F. Supp. 1353, 1365 (D. Minn. 1995) (concluding that

“RICO contains no language which suggests Congress ‘unequivocally’ waived Indian tribes’

sovereign immunity”), judgment aff’d, appeal dismissed in part, 100 F.3d 556 (8th Cir. 1996);

Buchanan v. Sokaogon Chippewa Tribe, 40 F. Supp. 2d 1043, 1047 (E.D. Wis. 1999)

(concluding that there is “no basis in law or fact for concluding that Congress has authorized this




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[RICO] suit” against the Sokaogon Chippewa Community, a federally recognized Indian tribe);

see also Tassone v. Foxwoods Resort Casino, No. 11-1718, 2012 U.S. Dist. LEXIS 71882, at *3

(D. Conn. May 23, 2012) (concluding that “RICO does not contain an abrogation of the tribal

immunity”), aff’d, 519 F. App’x 27 (2d Cir. 2013); James Joseph Morrison Consultants, Inc. v.

Sault Ste. Marie Tribe of Chippewa Indians, No. 97-315, 1998 U.S. Dist. LEXIS 13653, at *10

(W.D. Mich. Aug. 6, 1998) (same); Leigh v. Blackfeet Tribe of Blackfeet Indian Reservation, No.

89-1568, 1990 U.S. Dist. LEXIS 11026, at *1 (D. Mass. Aug. 17, 1990) (rejecting a claim of

abrogation of tribal sovereign immunity through RICO because “plaintiff points to nothing in the

Act to support his argument that the statute is a Congressional waiver of the Tribe’s immunity”).

Again, that is because no such evidence exists.

               Further, Virginia usury laws cannot abrogate tribal sovereign immunity. “Only

Congress, and not a state legislature, can abrogate tribal immunity, because ‘tribal immunity is a

matter of federal law and is not subject to diminution by the States.’” 4 Furry v. Miccosukee

Tribe of Indians of Florida, 685 F.3d 1224, 1230 (11th Cir. 2012) (quoting Kiowa, 523 U.S. at

756). Alternatively, if this Court determines that Plain Green is immune from Plaintiffs’ claims

under RICO, the Court should decline to exercise supplemental jurisdiction over Plaintiffs’ state

law claims. See 28 U.S.C. § 1367(c)(3).

               In sum, there has been no waiver of Plain Green’s immunity with respect to

Plaintiffs’ claims, and Congress has not abrogated that immunity. Because Plain Green is


       4
          Plain Green is immune from state law for its commercial, on- or off-reservation
conduct. Bay Mills, 134 S. Ct. at 2036; see also infra Footnote 19 (citing White Mountain
Apache Tribe v. Bracker, 448 U.S. 136 (1980)). Plaintiffs therefore cannot rely on the alleged
violation of Virginia law to establish a RICO claim. (See, e.g., Compl. ¶¶ 73–74 (alleging an
“unlawful debt” RICO theory, which, in turn, is premised on the collection of debt at a rate twice
the legally enforceable limit, 18 U.S.C. § 1961(6)).) Accordingly, Plain Green’s immunity from
the federal RICO claims is as strong as its immunity from Plaintiffs’ state law claim.


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shielded by the Tribe’s sovereign immunity, this Court lacks subject matter jurisdiction to

adjudicate Plaintiffs’ claims against Plain Green. As a result, the claims must be dismissed.

       B.      This Matter Must be Submitted to Arbitration

               If the Court does not dismiss this matter on immunity grounds, it should compel

arbitration in accordance with the loan agreements between Plain Green and Plaintiffs. The

agreements mandate that any and all “disputes” be submitted to arbitration. (Gibbs Agreement at

7.) Here, Plaintiffs raise two issues: (1) the interest rates that applied to their loans violate state

and federal law; and (2) the tribal choice of law clause and arbitration provisions are

“unconscionable and unenforceable” because they combine to “disclaim all federal and state

laws in favor of tribal law.” (Compl. ¶¶ 1–7, 58–85.) Both issues fall under the broad definition

of “dispute” and therefore must be decided (at least in the first instance) by an arbitrator. (See

Gibbs Agreement at 7.) In these circumstances, the Court should compel arbitration and dismiss

this action, because all the allegations in the Complaint must be resolved through arbitration.

See Hawthorne v. BJ’s Wholesale Club, No. 15-572, 2016 U.S. Dist. LEXIS 114969, at *19

(E.D. Va. Aug. 26, 2016) (Lauck, J.) (“The law remains unsettled as to whether a court should

stay or dismiss a case when all claims are subject to arbitration, but no question exists that the

Court has the discretion to take either option.”) (footnote omitted).

               1.      The Arbitration Agreement

               The loan agreements clearly and conspicuously apprise the borrower of a

“WAIVER OF JURY TRIAL AND ARBITRATION AGREEMENT.” (Gibbs Agreement at

6.) Before detailing the arbitration provision, the agreements inform borrowers, again in bold




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and capitalized font, that they have a right to opt out of arbitration, and describe in depth how a

borrower exercises that opt-out option. 5 (Id. at 7.)

                After advising potential borrowers of their right to opt out, the arbitration

provision advises borrowers to “PLEASE CAREFULLY READ THIS AGREEMENT TO

ARBITRATE” and explains that “[u]nless you exercise your right to opt-out of arbitration in the

manner described above, you agree that any dispute you have relating to this agreement will be

resolved by binding arbitration.” (Id.) To hammer home the point, the agreement further

explains that arbitration “replaces litigation.” 6

                The arbitration clause then explains what arbitration is—a “form of alternative

dispute resolution where Disputes are present to an independent third party for resolution.” (Id.)

A “Dispute” is broadly defined as “any claim or controversy of any kind between you and Plain

Green or otherwise involving this Agreement or the Loan.” (Id.) Critically, this term includes:

                •       “All federal, state, or Tribal claims or demands (whether past, present, or

                        future), based on any legal or applicable theory and regardless of the type

                        of relief sought (i.e., money, injunctive relief, or declaratory relief)”; and

                •       “[A]ny issue concerning the validity, enforceability, or scope of this

                        Agreement or this Agreement to arbitrate” 7


        5
         Gibbs did not opt out of arbitration, and Mwethuku did not opt out of arbitration except
with respect to his loan agreement dated August 22, 2013. (See Windyboy Decl. ¶ 9.)
        6
          The Agreements contain a class action waiver, which Plaintiffs have violated by
bringing this class action lawsuit. Plain Green reserves the right to enforce the class action
waiver in any court or arbitration. See, e.g., Am. Express Co. v. Italian Colors Rest., 133 S. Ct.
2304, 2309 (2013) (upholding class action waiver and instructing courts to “rigorously enforce
arbitration agreements according to their terms”) (internal quotation marks omitted).
        7
         As discussed infra in Section III.B.1, this provision is known as a “delegation clause”
and is consistent with the Supreme Court’s determination that “parties can agree to arbitrate
‘gateway’ questions of ‘arbitrability,’ such as whether the parties have agreed to arbitrate or

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                  Pursuant to the agreements, the Plaintiffs may elect to arbitrate any dispute before

two reputable, industry-leading arbitration organizations: the American Arbitration Association

or JAMS.8 (Id.) Plaintiffs also select where the arbitration takes place, either within thirty miles

of their homes or on the Tribe’s Reservation. (Id.) In addition to the significant convenience of

choosing the arbitration firm and location, the arbitration provision charges Plain Green with

“pay[ing] the filing fee and any costs or fees charged by the arbitrator regardless of which party

initiates the arbitration.” (Id.)

                  The loan agreements also include a choice of law clause calling for the

application of tribal law. (Id. at 1–2.) Under Chippewa Cree law, if substantive tribal law is

insufficiently developed to resolve Plaintiffs’ contentions, that law can be supplemented with the

state law of Montana and with federal law. See Gunson v. BMO Harris Bank, N.A., 43 F. Supp.

3d 1396, 1400 n.2 (S.D. Fla. 2014) (“Under Chippewa Cree tribal law, the Court ‘may apply

laws and regulations of the United States or the State of Montana.’”) (quoting Law and Order

Code of the Chippewa Cree Tribe § 1.9 (1987)).

                  2.     Every Issue in this Litigation Must be Submitted to Arbitration

                  The Court should defer to the parties’ binding arbitration clause, which mandates

arbitration of Plaintiffs’ action. The Federal Arbitration Act (“FAA”) reflects the “liberal federal

policy favoring arbitration agreements.” O’Neil v. Hilton Head Hosp., 115 F.3d 272, 273 (4th

Cir. 1997) (quoting Moses H. Cone Memorial Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24

(1983).       Under the FAA, written agreements to arbitrate “shall be valid, irrevocable, and

whether their agreement covers a particular controversy.” Rent-A-Center, W., Inc. v. Jackson,
561 U.S. 63, 68–69 (2010).
          8
         The arbitration takes place in accordance with the AAA or JAMS “policies and
procedures . . . applicable to consumer disputes,” provided there is no conflict with the loan
agreements or tribal law. (Gibbs Agreement at 7.)


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enforceable.” 9 U.S.C. § 2. Indeed, the “central or primary purpose of the FAA is to ensure that

private agreements to arbitrate are enforced according to their terms.” Stolt-Nielsen S. A. v.

Animal Feeds Int’l Corp., 559 U.S. 662, 682 (2010) (internal quotation marks and citation

omitted); see also Rent-A-Center, 561 U.S. at 67 (courts must place arbitration agreements “on

equal footing with other contracts and . . . enforce them according to their terms”). Accordingly,

“[o]nce a court determines that the parties entered into a written agreement to arbitrate the

underlying dispute, Section 4 directs courts to compel arbitration if necessary. . . . The FAA

gives district courts no discretion to do otherwise.” Hawthorne, 2016 U.S. Dist. LEXIS 114969,

at *9–10.

                The instant arbitration agreement requires every issue in this case to be submitted

to arbitration, at least in the first instance. 9 Plaintiffs raise two issues: (1) the interest rates that

applied to their loans violate state and federal law; and (2) the tribal choice of law clause and

arbitration provisions are “unconscionable and unenforceable” because they combine to

“disclaim all federal and state laws in favor of tribal law.” (Compl. ¶¶ 1–7, 58–85.)

                Both issues fall squarely within the arbitration agreement’s broad definition of a

“dispute.” The first issue—claims under federal and state law and related requests for monetary,

equitable, and declaratory relief—is undoubtedly captured in the meaning of dispute as “all

federal, state, or Tribal claims or demands (whether past, present, or future), based on any legal

or applicable theory and regardless of the type of relief sought (i.e., money, injunctive relief, or

declaratory relief).”    (Gibbs Agreement at 7.)         Similarly, the second issue—whether the



        9
          The arbitration agreement and FAA provide avenues for review upon conclusion of the
arbitration proceedings. (See Gibbs Agreement at 8 (providing for tribal court review of
arbitration awards)); see also 9 U.S.C. §§ 9, 10 (providing for federal court review of arbitration
awards in certain circumstances).


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arbitration and choice of law clauses are enforceable—”concern[s] the validity, enforceability, or

scope of this Agreement or this Agreement to arbitrate.” (Id.)

               This analysis is not affected by Plaintiffs’ allegation that the agreement, when

read in combination with the tribal choice of law clause, is “unenforceable and unconscionable”

because it purportedly displaces federal and state law. Pursuant to the agreements’ delegation

clause, the parties agreed that the arbitrator must decide the validity of the arbitration agreement.

See supra Footnote 7. The Supreme Court in Rent-A-Center held that such delegation clauses

are enforceable if there is “clear and unmistakable” evidence that the parties intended for the

arbitrator to address these issues. See 561 U.S. at 69 n.1; see also Carson v. Giant Food, Inc.,

175 F.3d 325, 330 (4th Cir. 1999) (stating similarly that “if contracting parties wish to let an

arbitrator determine the scope of his own jurisdiction, they must indicate that intent in a clear and

specific manner.”).

               The “clear and unmistakable” standard is met here. The instant delegation clause

calls for the arbitrator to resolve any and all “disputes,” which include “the validity,

enforceability, or scope of this Agreement or this Agreement to Arbitrate.” The delegation

clause enforced by the Supreme Court in Rent-A-Center similarly provided that the arbitrator had

the authority to “resolve any dispute relating to the interpretation, applicability, enforceability or

formation of this Agreement including, but not limited to any claim that all or any part of this

Agreement is void or voidable.” 561 U.S. at 66 & 69 n.1. Courts in this circuit and others agree.

See Meena Enters. v. Mail Boxes Etc., Inc., No. 12-1360, 2012 U.S. Dist. LEXIS 146406, at *16

(D. Md. Oct. 11, 2012) (“clear and unmistakable” standard met where delegation provision

stated that “the validity, scope, and enforceability of this Section, shall be solely and finally

settled by binding arbitration”); Thornton v. First Nat’l Bank Credit Card, No. 12-0492, 2012




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U.S. Dist. LEXIS 136049, at *9 (S.D. W. Va. Sep. 24, 2012) (same, where language of

delegation clause was nearly identical to the Gibbs Agreement); Banks v. CashCall, Inc., 188 F.

Supp. 3d 1296, 1302 (M.D. Fla. 2016) (same); Parnell v. CashCall, Inc., 804 F.3d 1142, 1148

(11th Cir. 2015) (same, holding that this language “unambiguously commits to the arbitrator the

power to determine the enforceability of the agreement to arbitrate”). 10

               In sum, because the language of the instant delegation clause meets the “clear and

unmistakable” evidence standard, this Court must defer to the arbitrator the gateway question

regarding the enforceability of the arbitration agreement. 11



       10
          Contrast Peabody Holding Co., LLC v. UMW, 665 F.3d 96, 103 (4th Cir. 2012) (“clear
and unmistakable” standard not met where the agreement providing generally for arbitration of
“[a]ny dispute alleging a breach of this [Jobs Agreement]”); Carson., 175 F.3d at 330 (same
where the clause provided generally that an arbitrator had authority to resolve “all interpretive
disputes ‘relating to’ or ‘arising out of’ the agreement”).
       11
          The Fourth Circuit recently reached the opposite conclusion in Hayes and Dillon. In
both cases, the arbitration agreement delegated to the arbitrator “any issue concerning the
validity, enforceability, or scope” of the loan or arbitration agreements. Both cases are
distinguishable from the instant matter, however.

        The Hayes court seized on the rule from Rent-A-Center that federal court review is
appropriate if the plaintiff “challenge[s] the delegation provision specifically.” 561 U.S. at 72
(emphasis added). The court held that because plaintiffs “have challenged the validity of [the]
delegation clause with sufficient force and specialty to occasion our review,” it was proper for
the district court to consider the threshold issue of arbitrability. 811 F.3d at 671 n.1 (citing Rent-
A-Center, 561 U.S. at 71–72). Plaintiffs have not done so here. Instead, they have challenged
the arbitration agreement insofar as it allegedly combines with the choice of law clause to
prevent Plaintiffs from bringing their federal and state law claims. (Compl. ¶¶ 7, 76–85); see
Thornton, 2012 U.S. Dist. LEXIS 136049, at *9 (upholding delegation clause because “[a]s in
Rent-A-Center, Plaintiffs do not make any specific arguments in her Response that the delegation
provision itself is unenforceable.”); Parnell, 804 F.3d at 1148 (same, because, like here, “at no
point in his complaint does [the plaintiff] specifically challenge the parties’ agreement to commit
to arbitration the question of the enforceability of the arbitration agreement”). Accordingly,
Hayes does not require this Court to take on the “gateway” questions that the parties delegated to
the arbitrator.

       The Dillon court, meanwhile, did not address this critical issue of whether the parties
delegated to the arbitrator questions regarding the validity of the agreement. In light of the


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               The Dillon court also articulated another reason why Plaintiffs’ unenforceability

allegation must be submitted to the arbitrator. Plaintiffs allege that the arbitration and choice of

law clauses combine to result in a prospective waiver of their right to bring federal and state law

claims against Plain Green. As the Dillon court noted, under the prospective waiver doctrine,

“[w]hen there is uncertainty” as to that question, “the arbitrator should determine in the first

instance whether the choice of law provision would deprive a party of those remedies.” 856 F.3d

at 333 (emphasis added). Depending on the arbitrator’s decision, Plaintiffs would then have the

opportunity to raise this issue before the tribal court or federal court. See (Gibbs Agreement at 8

(providing for tribal court review of arbitration awards)); 9 U.S.C. §§ 9–10 (providing for federal

court review of arbitration awards in certain circumstances). For the reasons discussed infra in

Section III.B.3, it is clear that the tribal choice of law clause does not displace federal law. But

at the very least, there is enough “uncertainty” as to warrant the arbitrator to consider this issue

in the first instance, as the parties intended. See Aggarao v. MOL Ship Mgmt. Co., Ltd., 675 F.3d

355, 373 (4th Cir. 2012) (prospective waiver doctrine challenges are not addressed “until the

second stage of the arbitration court proceedings—the award enforcement stage”).

               In these circumstances, the Court should enforce the parties’ binding arbitration

clause, which requires all the allegations raised in the Complaint to be submitted in the first

instance to a neutral arbitrator—not this Court.

               3.      The Arbitration Agreement is Valid and Enforceable

               The language of the arbitration agreement provides “clear and unmistakable”

evidence that the parties intended for the arbitrator to determine whether the arbitration



strong federal policy of enforcing arbitration clauses as written, this Court should both consider
the issue and decide it in Plain Green’s favor.


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agreement is, as Plaintiffs allege, “unconscionable and unenforceable.”        See supra Section

III.B.2. However, even if the Court undertakes this inquiry, it should uphold the agreement. 12

               Plaintiffs do not allege that the agreement is substantively or procedurally unfair.

Nor could they. The arbitration agreement affords Plaintiffs the right to pick the arbitration firm

and location and charges Plain Green with the responsibility to pay for filing costs. See Stewart

v. Legal Helpers Debt Resolution, LLC, No. 11-26, 2012 U.S. Dist. LEXIS 76168, at *18–20

(W.D.N.C. June 1, 2012) (arbitration agreement between consumer and debt negotiation

company fair where it allowed the filing party to pick the arbitrator and provided that arbitration

would take place in either “the Plaintiff’s county of residence or the closest metropolitan

county”); Johnson v. Ace Cash Express, Inc., No. 13-1186, 2014 U.S. Dist. LEXIS 100857, at

*15 (D. Del. July 24, 2014) (arbitration clause in loan agreement fair because, inter alia, the

clause allowed the borrower to choose the arbitrator, request payment of arbitration fees, and

arbitrate in a “convenient” location). Moreover, the agreement offers Plaintiffs the opportunity




       12
           In conducting this inquiry, the Court should apply Chippewa Cree law. (See Gibbs
Agreement at 1 (the loan is “made within the tribe’s jurisdiction and is subject to and governed
by tribal law”).) Tribal law provides that:

               a. A Loan Agreement may not contain a mandatory arbitration
               clause that is oppressive, unconscionable, unfair, or in substantial
               derogation of a Consumer’s rights.

               b. A mandatory arbitration clause that complies with the applicable
               standards of the American Arbitration Association must be
               presumed to not violate the provisions of § 10-3-602 (a).

Chippewa Cree Tribal Code, Section 10-3-602, a true and correct copy of which is attached as
Exhibit F to the Whitford Declaration. To the extent that additional authority is needed, the
Court may supplement tribal law with the Montana law and federal law. See Gunson, 43 F.
Supp. 3d at 1400 n.2. But in any event, the arbitration agreement is enforceable under both tribal
and Virginia law.



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to opt out of arbitration, another hallmark of reasonableness. See Hawthorne, 2016 U.S. Dist.

LEXIS 114969, at *15–16.

                Plaintiffs’ only objection is that the arbitration agreement, when read together

with the tribal choice of law clause, is unenforceable and unconscionable because it purportedly

displaces federal and state law. 13 As an initial matter, the agreement does not prevent Plaintiffs

from bringing their federal and state law claims in arbitration. In fact, the agreement specifically

anticipates that borrowers will make “claims or demands” under “federal [and] state” law for

“money, injunctive relief, or declaratory relief.” The agreement simply calls for these claims to

be submitted to arbitration. See Italian Colors Rest., 133 S. Ct. at 2310 (arbitration agreement

enforceable so long as it does not result in a “prospective waiver of a party’s right to pursue

statutory remedies”) (emphasis added).

                The arbitration and choice of law clauses also withstand scrutiny under Hayes and

Dillon. In these cases, the Fourth Circuit refused to compel arbitration in favor of a non-Indian

debt collector solely on the ground that the arbitration agreement “purport[ed] to renounce

wholesale the application of any federal law to the plaintiffs’ federal claims.” 811 F.3d at 673

(commenting that the court’s decision was based on the “present agreement’s outright rejection

of the application of federal law”); see also Dillon, 856 F.3d at 335 (declining to compel

arbitration because “we conclude that the arbitration agreement functions as a prospective waiver

of federal statutory rights and, therefore, is unenforceable as a matter of law”). There is no

express disclaimer of federal law in the instant provision, thus rendering Hayes and Dillon

inapplicable.


       13
            Although Plain Green will address the merits of Plaintiffs’ prospective waiver
argument here, it preserves its position that this argument must be decided in the first instance by
the arbitrator. See supra Section III.B.2.


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               The arbitration agreement does contain an express disclaimer of state law, in

favor of tribal law. (Gibbs Agreement at 1–2.) This is entirely consistent with the purpose of

choice of law clauses—i.e., to dictate which law applies and which laws do not. Courts uphold

these clause as a matter of course under both the FAA and Virginia law. 14 See Hitachi Credit

Am. Corp. v. Signet Bank, 166 F.3d 614, 624 (4th Cir. 1999) (“Virginia law looks favorably upon

choice of law clauses in a contract, giving them full effect except in unusual circumstances.”);

Zaklit v. Glob. Linguist Sols., LLC, No. 14-314, 2014 U.S. Dist. LEXIS 92623, at *29 (E.D. Va.

July 8, 2014) (Virginia law permits choice of law clauses to govern non-contract claims; “[t]he

rationale underlying this rule is straight forward; allowing parties to negotiate the rules that

govern their relationship creates certainty and avoids applying the laws of multiple jurisdictions

to a controversy having its origin in a single, contract-based relationship”); Hall St. Assocs.,

L.L.C. v. Mattel, Inc., 552 U.S. 576, 586 (2008) (“[T]he FAA lets parties tailor some, even many,

features of arbitration by contract, including the way arbitrators are chosen, what their

qualifications should be, which issues are arbitrable, along with procedure and choice of

substantive law.”).   A contract provision calling for the application of tribal law—to the

exclusion of Virginia law—is no different than a contract calling for the application of Utah

law—to the exclusion of Virginia law. See Settlement Funding, 645 S.E.2d at 438 (Virginia

usury law inapplicable in light of the parties’ Utah choice of law clause).

               In sum, the Court should uphold the arbitration agreement because it is

procedurally and substantively fair under both tribal and Virginia law and, contrary to Plaintiffs’



       14
            The agreement’s express disclaimer of state law is not problematic under the
prospective waiver doctrine because that doctrine applies only where an arbitration agreement
results in a waiver of federal rights, not state rights. See Hayes, 811 F.3d at 674–76; Dillon, 856
F.3d at 335.


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allegations, affords them the “right to pursue” the federal and state law claims raised in the

Complaint. Italian Colors Rest., 133 S. Ct. at 2310.

               4.      If the Court Determines that Any Provision is Unenforceable, that
                       Provision Must be Severed and the Remainder of the Agreement Must Be
                       Enforced

               The loan agreement contains a severability clause, which provides that if “any

provision of this Agreement is held unenforceable, including any provision of the Waiver of Jury

Trial and Arbitration Agreement, the remainder of this Agreement shall remain in full force and

effect.” (Gibbs Agreement at 6.) Plaintiffs’ only dispute with the arbitration agreement is that,

when read in combination with the choice of law clause, it purportedly operates to disclaim

federal and state law. (Compl. ¶¶ 76–85.) Plaintiffs do not—nor could they—challenge other

provisions of the arbitration agreement, such as the arbitration forum (AAA or JAMS), the

arbitration location (within 30 miles of the Plaintiffs’ residence or on the Tribe’s reservation), or

any other aspects of the arbitration.

               As discussed supra in Sections III.B.2–3, Plaintiffs’ “disclaimer” argument

should be resolved in the first instance by the arbitrator or, alternatively, resolved by this Court

in Plain Green’s favor. However, if the Court were to conclude that the choice of law clause or

any other provision of the agreement was unenforceable, it should sever the offending provision

and enforce the remainder of the agreement by compelling arbitration. See Gannon v. Circuit

City Stores, Inc., 262 F.3d 677, 682 (8th Cir. 2001) (if courts “were to hold entire arbitration

agreements unenforceable every time a particular term is held invalid, it would discourage

parties from forming contracts under the FAA and severely chill parties from structuring their

contracts in the most efficient manner for fear that minor terms eventually could be used to

undermine the validity of the entire contract”).




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       C.      Additional Bases for Dismissal

               As is apparent from Plaintiffs’ loan agreements, this lawsuit cannot proceed as a

matter of law in this Court due to Plain Green’s sovereign immunity from suit and the

agreements’ mandatory arbitration provisions. But these are not the only reasons that Plaintiffs’

claims must be dismissed. Plaintiffs have also failed to demonstrate that venue in this Court is

proper and to meet the pleading standards set forth by Bell Atl. Corp. v. Twombly, 550 U.S. 544

(2007). For these additional reasons, the Court should dismiss this case with prejudice.

               1.      This Case Should be Dismissed Because Venue in this District is Not
                       Proper

               Under Federal Rule of Civil Procedure 12(b)(3), Plaintiffs must demonstrate that

venue in this district is proper. Their conclusory recitation of the Rule 12(b)(3) standard and

allegations that some (but not all) Plaintiffs live in this district are insufficient. (Compl. ¶¶ 9,

10–14.) In the Fourth Circuit, venue inquiries under 28 U.S.C. § 1391(b)(2) focus on where the

Defendants’ acts took place, not where a plaintiff may have felt harm. See Massi v. Lomonaco,

No. 10-265, 2010 U.S. Dist. LEXIS 58103, at *4 (D.S.C. May 25, 2010) (“Most courts have

found that the suffering of economic harm within a district is not sufficient without more to

warrant transactional venue in that district. This is probably the correct view, because otherwise

venue almost always would be proper at the place of the plaintiff’s residence . . . .”) (quoting

Wright, Miller & Cooper, Federal Practice & Procedure § 3806.1); Verizon Online Servs. v.

Ralsky, 203 F. Supp. 2d 601, 623 (E.D. Va. 2002) (underscoring that the location of

“Defendants’ actions” guide the venue inquiry).

               Here, venue plainly does not lie in the Eastern District of Virginia.           The

Complaint fails to establish that Plain Green affirmatively did anything in this district. While the

Complaint arises out of loan agreements that Plaintiffs entered into with Plain Green, these



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agreements were formed on the Chippewa Cree Tribe’s Reservation—not in Virginia. See

(Windyboy Decl. ¶ 6); Restatement (Second) of Conflict of Laws, § 188 cmt. e (1971) (noting

that the “place of contracting is the place where occurred the last act necessary . . . to give the

contract binding effect”); 2 Williston on Contracts § 6:62 (4th ed.) (“[T]he place of the contract

is the place where the last act necessary to the completion of the contract was done.”).

Accordingly, this district is not the site of “a substantial part of the events” underlying Plaintiffs’

action, warranting dismissal of this action. Fed. R. Civ. P. 12(b)(3). 15

               2.      This Case Must be Dismissed For Failure to State a Claim under Federal
                       Rule of Civil Procedure 12(b)(6)

                       a.      Plaintiffs’ Claims Must Be Dismissed as a Matter of Law in Light
                               of the Virginia Supreme Court’s Decision in Settlement Funding

               Plaintiffs’ claims rest on the assumption that the interest rates that applied to the

loans exceeded Virginia law. See Va. Code § 6.2-305(A) (maximum interest rate under Virginia

law is 12 percent); 18 U.S.C. § 1961(6) (providing a cause of action under RICO for the

collection of “unlawful debt”—i.e., money lent at twice the applicable enforcement rate). But

Virginia law does not apply to the loans. Under the clear and conspicuous choice of law clause




       15
           If the Court declines to enforce the binding arbitration agreement contained in the loan
agreements, the Defendants move the Court to enforce the agreements’ forum selection clause
and dismiss this case on the basis of forum non conveniens. Here, the parties expressly
designated the Chippewa Cree Tribal Court as the appropriate forum for any in-court dispute
resolution. (See Gibbs Agreement at 6–7.) There is a “strong federal policy . . . favoring the
enforcement of valid forum-selection clauses.” SFL+A Architects, PA v. Marlboro Cty. Sch.
Dist., No. 13-03071, 2014 U.S. Dist. LEXIS 119905, at *11 (D.S.C. Aug. 28, 2014) (citing Atl.
Marine Constr. Co. v. United States District Ct., 134 S. Ct. 568, 583 (2013). Moreover, the
Tribe has a longstanding right to adjudicate civil disputes pursuant to the laws it has established
for itself and it is well established that in doing so, it may exercise jurisdiction over non-
members, as would be the case here. See, e.g., Montana v. United States, 450 U.S. 544 (1981);
Williams v. Lee, 358 U.S. 217 (1959) (recognizing that tribal jurisdiction extended to a non-
member based on an on-reservation transaction).


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on the first page of the loan agreements, Plaintiffs agreed to the application of tribal law, which

does not have a maximum interest rate. 16

                Because the interest rates comport with tribal law, Plaintiffs cannot state a claim

under the Virginia usury statute, under RICO, for unjust enrichment, or for declaratory relief.

This pleading defect cannot be remedied, because the tribal choice of law clause will always

displace Virginia law. Accordingly, dismissal on this ground must be with prejudice.

                The Choice of Law Clause

                This clause provides:

                THE BORROWER EXPRESSLY CONSENTS AND AGREES
                THAT THIS LOAN IS MADE WITHIN THE TRIBE’S
                JURISDICTION AND IS SUBJECT TO AND GOVERNED BY
                TRIBAL LAW AND NOT THE LAW OF BORROWER’S
                RESIDENT STATE.

(Gibbs Agreement at 1.) The agreement further cautioned that if the borrower wanted the

protections of his or her home state law, the borrower should consider securing a loan elsewhere:

                THE BORROWER’S RESIDENT STATE MAY HAVE
                INTEREST RATE LIMITS AND OTHER CONSUMER
                PROTECTION PROVISIONS THAT ARE MORE FAVORABLE
                TO THE BORROWER. IF THE BORROWER WISHES TO
                HAVE THE BORROWER’S RESIDENT STATE’S LAW
                APPLY TO ANY LOAN THAT THE BORROWER OBTAINS,
                THE BORROWER SHOULD CONSIDER OBTAINING A
                LOAN FROM A LICENSED LENDER IN THE BORROWER’S
                STATE.

(Id. at 1–2.)



        16
          See Chippewa Cree Tribal Code, Section 10-3-201 (Whitford Decl., Ex. F) (“Unless a
maximum Interest rate or charge is specifically established elsewhere in this Title or the other
laws of the Tribe, there is no maximum Interest rate or charge, or usury rate restriction between
or among Persons if they establish the Interest rate or charge by written agreement. The Creditor
and the Consumer can agree upon what fees and charges may be assessed as set forth in any
written agreement between the Creditor and the Consumer.”).


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               Plaintiffs did not do this (except with respect to one loan agreement 17). Instead,

they agreed to be bound by the instant choice of law provision. Before executing the loan

agreement, Plaintiffs were required to check a box acknowledging that they “agree that this Loan

is governed by the laws of the Chippewa Cree Tribe and is not subject to the provisions or

protections of the laws of your home state or any other state.” (Id. at 8.)

               Virginia Courts Routinely Uphold Choice of Law Clauses 18

               Virginia law is clear: “[i]f a contract specifies that the substantive law of another

jurisdiction governs its interpretation or application, the parties’ choice of substantive law should

be applied.” Settlement Funding, 645 S.E.2d at 438. As recognized by the Fourth Circuit,

“Virginia law looks favorably upon choice of law clauses in a contract, giving them full effect

except in unusual circumstances.” Hitachi Credit Am. Corp. v. Signet Bank, 166 F.3d 614, 624

(4th Cir. 1999).

               This is true where the choice of law clause dictates which states’ usury law

applies. In Settlement Funding, a consumer entered into an installment loan agreement, which

contained a choice of law clause calling for the application of Utah law to “all disputes.” 645

S.E.2d at 437. The consumer defaulted on the loan, claiming that she was unaware of the

interest rate that applied. Id. The trial court declined to apply Utah law because the lender had

not provided sufficient proof of Utah law. Id. The court instead applied Virginia law and held

that the loan violated the commonwealth’s 12 percent interest rate maximum. Id.


       17
         Mwethuku opted out of arbitration in connection with the loan agreement dated August
22, 2013. Windyboy Decl. ¶ 9. Because Mwethuku was not bound by the arbitration agreement
with respect to that loan, he does not have standing to challenge the agreement as
“unenforceable” and “unconscionable.”
       18
           The validity of the choice of law clause should be determined by tribal law. But even
if Virginia law applies, the clause is still valid for the reasons described in this Section.


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               The Supreme Court reversed.        Its analysis was straightforward: (1) does the

contract have a choice of law clause?; (2) if so, what does the law designated by the choice of

law clause say? After confirming that the plain text of the loan agreement called for the

application Utah law, the Court addressed whether the lender presented the trial court with

“sufficient information regarding the substance of Utah law.” Id. at 439. The Supreme Court

held the lender’s various court filings, which contained citations to the applicable Utah statutes,

was sufficient. Accordingly, the Settlement Funding court held that the trial court “erred in

refusing to apply Utah law in the construction of the loan agreement” and reversed the lower

court’s finding that the lender violated Virginia usury law. Id.

               Here, the loan agreement plainly calls for the application of law of the Chippewa

Cree Tribe. Like Utah law, the Tribe’s law provides that:

               [T]here is no maximum Interest rate or charge, or usury rate
               restriction between or among Persons if they establish the Interest
               rate or charge by written agreement. The Creditor and the
               Consumer can agree upon what fees and charges may be assessed
               as set forth in any written agreement between the Creditor and the
               Consumer.”

Chippewa Cree Tribal Code, Section 10-3-201 (Whitford Decl., Ex. F). In these circumstances,

this Court must apply tribal law to the loan agreements. 19


       19
           Further, Virginia and other state usury laws cannot be enforced against Plain Green
because doing so would amount to an improper state regulation of on-reservation activity in
contravention of well-established preemption and infringement principles. Bracker, 448 U.S. at
136; Williams, 358 U.S. 217. Here, Plaintiffs’ action arises out of their loan Agreements, all of
which were formed on the Tribe’s Reservation. It is hornbook law that the “place of contracting
is the place where occurred the last act necessary . . . to give the contract binding effect.” In
signing their Agreements, the Plaintiffs acknowledged that their loans formed on the
Reservation, as Plain Green “do[es] not have a presence in Montana or any other state of the
United States of America.” (See Gibbs Agreement at 8); cf. Marquette Nat’l Bank v. First of
Omaha Serv. Corp., 439 U.S. 299, 312 (1978) (rejecting the argument that the location of the
bank should depend on the location of the borrower in considering whether a national bank could
charge its out-of-state customers an interest rate permitted by the bank’s home state, but higher
than that sanctioned by the borrowers’ state, for “[i]f the location of the bank were to depend on

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               This is fatal to all Plaintiffs’ claims:

               •       Under Settlement Funding, Virginia law does not apply to the loans, thus

                       barring a claim for relief under the commonwealth’s usury statute;

               •       Because the interest rates are consistent with tribal law, Plaintiffs cannot

                       plausibly allege the existence of an “unlawful debt”—i.e., money lent at

                       twice the applicable enforcement rate—requiring dismissal of their RICO

                       claims, see 18 U.S.C. § 1961(6);

               •       Because the choice of law provision is enforceable, Plaintiffs have no

                       basis for declaratory relief; and

               •       Because the interest rate charged was permissible under the loan

                       agreements, there can be no claim for unjust enrichment, see Jones v.

                       Bank of Am. Corp., No. 09-162, 2010 U.S. Dist. LEXIS 142918, at *21–

                       23 (E.D. Va. Aug. 24, 2010) (no unjust enrichment claim where there is an



the whereabouts of each . . . transaction, the meaning of the term ‘located’ would be so stretched
as to throw into confusion the complex system of modern interstate banking,” noting that the
Minnesota borrowers “were always free to visit Nebraska and receive loans in that State,” and
ultimately finding the bank to be “located” in Nebraska, where it makes its credit and finance
charge assessments, such that Nebraska’s usury law should govern). Thus, application of the
state usury laws to this on-reservation matter would be an affront to the “tradition of Indian
sovereignty over the reservation” that is “reflected and encouraged in a number of congressional
enactments demonstrating a firm federal policy of promoting tribal self-sufficiency and
economic development.” See Bracker, 448 U.S. at 143.

        In a similar vein, the “Commerce Clause . . . precludes the application of a state statute to
commerce that takes place wholly outside of the State’s borders, whether or not the commerce
has effects within the State.” Healy v. Beer Inst., 491 U.S. 324, 336 (1989) (quoting Edgar v.
MITE Corp., 457 U.S. 624, 642-643 (1982)). Relevant here, “if the transaction is consummated
out of state, a state may not regulate it without violating the dormant Commerce Clause.” Id. at
483. Accordingly, application of Virginia usury laws to this matter—which arises from purely
on-reservation conduct—would contravene long-established preemption / infringement
principles and violate the Commerce Clause.


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                        “express contract that covers the matter at issue” and, in any event, where

                        the defendant did not retain a benefit without paying for its value).

                Plaintiffs cannot remedy this pleading defect.        Accordingly, the Court must

dismiss this action with prejudice.

                        b.        Additional Pleading Deficiencies with Plaintiffs’ RICO Claims

                As discussed supra in Section III.A.2, Plain Green is immune from liability under

RICO because it is a sovereign arm of the Chippewa Cree Tribe. For many the same reasons, the

RICO statute does not even apply to Plain Green in the first place.

                The RICO statute applies only to “person[s].” 18 U.S.C. § 1962(a), (c). A

“person,” in turn, is defined as “any individual or entity capable of holding a legal or beneficial

interest in property.” Id. § 1961(3). There is a “longstanding interpretive presumption that

‘person’ does not include the sovereign.” Vt. Agency of Natural Res. v. United States ex rel.

Stevens, 529 U.S. 765, 780 (2000) (finding that the term “person” in the False Claims Act does

not include states); cf. Inyo Cty. v. Paiute-Shoshone Indians of the Bishop Cmty. of the Bishop

Colony, 538 U.S. 701, 709 (2003) (assuming that a tribe, like a state, is not a “person” that could

be sued under 42 U.S.C. § 1983). Plain Green—a sovereign arm of the Tribe—similarly is

insulated from the statute’s reach. See Stoner v. Santa Clara Cnty. Office of Ed., 502 F.3d 1116,

1122 (9th Cir. 2007) (construing “person” under the False Claims Act in a way that “avoids suits

against ‘state instrumentalities’ that are effectively arms of the state immune from suit”); see also

Howard ex rel. United States v. Shosone-Paiute Tribes of the Duck Valley Indian Reservation,

No. 13-16118, 2015 U.S. App. LEXIS 10040, at *2 (9th Cir. June 15, 2015) (explaining that “the

Tribe, like a state, is a sovereign that does not fall within the definition of a ‘person’ under the

[False Claims Act]”). Accordingly, the RICO statute is wholly inapplicable to Plain Green by

virtue of its sovereign status.


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IV.    Conclusion

               For the foregoing reasons, Plain Green respectfully urges this Court should

dismiss Complaint with prejudice or, in the alternative, to compel arbitration.

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                                   CERTIFICATE OF SERVICE

                I hereby certify that on the 19th day of September, I will electronically file the

foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification

of such filing to all parties of record.


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